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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC

                                                   AMENDED PRETRIAL ORDER NO. 208:
 This document relates to:
                                                   ORDER EXTENDING ALL DEADLINES
 ALL ACTIONS



       At the request of the settlement master, all deadlines in this MDL are extended by 35

days, as set forth below. However, the parties are notified that no further continuances will be

granted.

       As to the motion to remand in Rawson v. Monsanto Co., 19-cv-8312, the hearing is

continued to April 30, 2020.

       As to the motion to remand in Olah v. Monsanto Co., 20-cv-129, the opposition is due

April 17, 2020; the reply is due April 24, 2020; and the hearing is continued to May 14, 2020.

       As to the motion to remand in Moore v. Monsanto Co., 20-cv-1010, the reply is due April

15, 2020, and the hearing is continued to May 7, 2020.
       As to the motion to remand in Sapinsky v. Monsanto Co., 20-cv-257, the opposition is

due April 24, 2020; the reply is due May 1, 2020; and the hearing is continued to May 14, 2020.

       The hearing on the remaining Wave 1 motions is continued to April 16, 2020.

Wave 2 Timeline:


 Event                                                                   Date
 Plaintiff Fact Sheets (including all relevant authorizations) due for   No change from previous
 any plaintiffs who have not yet provided them.                          order
 Each plaintiff will provide any medical records in his/her              No change from previous
 possession and/or his/her counsel’s possession to defense counsel.      order
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 Deficiency letter(s) sent.                                             No change from previous
                                                                        order
 Deadline to cure Plaintiff Fact Sheet deficiencies; the parties may    No change from previous
 file a consolidated letter brief regarding any disputes about          order
 whether a deficiency exists.
 Close of fact discovery.                                               May 29, 2020
 Plaintiffs’ expert reports due.                                        June 19, 2020
 The parties should file a letter brief identifying any disputes over   June 26, 2020
 the applicable state law for the wave 2 cases. For cases where that
 is undisputed, the parties should file a stipulation identifying the
 governing state law.
 Monsanto’s expert reports due.                                         July 10, 2020
 Close of expert discovery.                                             August 7, 2020
 Monsanto’s Daubert and summary judgment briefs due.                    August 26, 2020
 Plaintiffs’ opposition and cross-motions re: Daubert and summary       September 16, 2020
 judgment due.
 Monsanto’s oppositions and replies re: Daubert and summary             September 30, 2020
 judgment due.
 Plaintiffs’ replies re: Daubert and summary judgment due.              October 14, 2020
 Daubert hearing (if necessary).                                        November 12, 2020
       IT IS SO ORDERED.

Dated: March 5, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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